                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                   NO. 5:18-CR-00452-1-FL

 UNITED STATES OF AMERICA

    Plaintiff
                                                      MOTION TO CONTINUE TRIAL
       v.

 LEONID ISAAKOVICH TEYF,

    Defendant


       Defendant Leonid Isaakovich Teyf (“Mr. Teyf”), through counsel, respectfully moves this

Court for an order continuing the trial of counts 27 – 29 in this matter currently scheduled for

February 10, 2020 until March 29, 2020 pursuant to this Court’s prior Standing Order dated June

18, 2020 governing criminal proceedings at the United States Courthouse at New Bern, North

Carolina in connection with the COVID-19 pandemic. Trial on the remaining counts in Mr. Teyf’s

indictment is currently set for March 29, 2021.

       Additionally, counsel have been engaged in extensive plea negotiations and have

substantial expectations that a plea agreement will be reached that would resolve all charges

against Mr. Teyf in both trials. Defense counsel has conferred with Government counsel who is

expected to shortly file a request for a status conference to more fully apprise the Court in

connection with the plea negotiations and trial continuance in that regard, although the

Government generally opposes a continuance based upon the Court’s prior Standing Order related

to the COVID-19 pandemic.

       In support of this motion, Defendant incorporates the grounds set forth in his prior motions

to continue (DE 587 and 593) and further shows the following:



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       1.      Defendant is and remains a “vulnerable person” pursuant to the Court’s Standing

Order governing jury proceedings at the United States Courthouse at New Bern, North Carolina,

which states that “[d]ue to increased risk of severe illness from COVID-19, the following

vulnerable individuals (including counsel) are not required to appear for a hearing in the

courthouse” (DE 586), as set forth in DE 587 and 593. Specifically, as confirmed by his medical

records, Mr. Teyf, aged 59, is a vulnerable individual identified in the Standing Order who suffers

from numerous physical and medical conditions, including Type II diabetes, chronic gastritis,

arterial hypertension, obesity, and gastroesophageal reflux disease. See DE 103, Ex. 10; 1/22/19

Tr. at 44:4-16, 45:8-14 (“Mr. Teyf has diabetes; he has an irregular heartbeat; he has chronic

gastritis from a hiatal hernia; he has a variety of other ailments, including injuries from an accident

that left him with significant muscular and bone issues that require him to do certain kinds of

exercises or he suffers pain and is unable to sleep.”). Additionally, as previously indicated, the

Government does not dispute that Defendant has certain health issues and is within an age bracket

that is more susceptible to the COVID-19 strain.

       2.      Moreover, counsel has been informed by the Albemarle District Jail that it has

recently experienced several COVID-19 cases among inmates, including in Mr. Teyf’s designated

area, requiring inmates to be subjected to quarantine. Neither Mr. Teyf nor his counsel have been

vaccinated, and due to Mr. Teyf’s vulnerability to severe illness based upon his underlying medical

conditions, his counsel are equally concerned with the unacceptable danger and harm that

otherwise essential personal meetings could cause.

       3.      On January 27, 2021, pursuant to Executive Order No. 189, North Carolina’s

Governor recently extended restrictions on gatherings designed to prevent the spread of COVID-



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19 until February 28, 2021 due to the continuing dangers of the pandemic.                        See

https://files.nc.gov/governor/documents/files/EO189-Further-Extension-of-Stay-at-Home-

Order.pdf;        https://files.nc.gov/governor/documents/files/EO189-Further-Extension-of-Stay-at-

Home-Order.pdf. Of North Carolina’s 100 counties, between January 3 and January 16, 2021, 99

of the 100 counties were experiencing “substantial (orange)” or “critical (red)” COVID-19

community spread. Id. On February 3, 2021, North Carolina reported the highest number of

COVID deaths in a day since the pandemic began, and “January was the deadliest month of the

pandemic.” See https://www.newsobserver.com/news/coronavirus/article248976560.html. And,

according to an analysis of case and testing data, Craven County and surrounding counties are

considered           “extremely       high       risk”       for      contracting        COVID-19.

https://www.nytimes.com/interactive/2021/us/craven-north-carolina-covid-cases.html. In short,

unfortunately, the COVID-19 situation remains substantially worse than when the Court continued

the trial by Order of August 24, 2020 (DE 598).

          4.      Restrictions related to the pandemic have also continued to limit counsel’s ability

to meet with Mr. Teyf. As a result, a recent attorney visit by local counsel was denied for this

reason.        Additionally, Mr. Teyf’s lead counsel based in New York also continues to have

significant limitations on his ability to have personal meetings with Mr. Teyf due to travel and

quarantine restrictions imposed by Executive Order of New York’s Governor which continue to

trigger mandatory quarantines for travelers from North Carolina to New York. The quarantine

period upon return to New York impairs necessary trial preparation in the office. Indeed, counsel

has been out of their offices in New York since mid-March, and counsel’s firm, Moses & Singer

LLP, like almost all other businesses in the city, continues to operate remotely and no members of

the staff have returned to the offices. Notwithstanding interim phasing in New York, the reality is



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that office buildings remain essentially vacant as businesses continue to operate remotely and not

require employees to return to their offices.

       5.      Defendant remains in pretrial detention at the Albemarle District Jail. There is no

prejudice to the Government from the requested continuance which would reschedule the February

16, 2019 trial to the same date already set for trial on the remaining counts in the indictment.

       6.      Defendant consents to the exclusion of the period of delay caused by the requested

continuance from the calculations under the Speedy Trial Act.

       7.      The Government’s position on a COVID continuance is as follows:
                  In its position on Defendant’s last requested continuance, the Government
       forecast that on conditions then in existence, trial could be safely accomplished for
       this Defendant at the new setting. As forecast, this is now the Government’s
       position. Insofar as the basis for a continuance is predicated on the Defendant’s raised
       concerns relating to COVID-19, the Government objects. An assessment of factors
       should be used to determine when the Defendant’s concerns are outweighed and trial
       should proceed. Appropriate factors include (but are not limited to): measures ready
       to be taken by the Court and counsel to mitigate risks; whether other trials have taken
       place without incident in the Eastern District of North Carolina; the present data
       available as pertains to the areas in which the Defendant will be housed; and the North
       Carolina Governor’s implementation of the U.S. Government-recommended phased
       approach to activity and what phase North Carolina is in. All of the above have been
       implemented with success to date. COVID-19 does not present sufficient reason to
       delay this trial further.
       Respectfully submitted, this the 4th day of February, 2021.

                                                /s/ F. Hill Allen
                                                F. Hill Allen
                                                THARRINGTON SMITH, L.L.P.
                                                P.O. Box 1151
                                                Raleigh, NC 27602
                                                Phone: (919) 821-4711
                                                Fax: (919) 829-1583
                                                hallen@tharringtonsmith.com
                                                N.C. State Bar No. 18884

                                                /s/ Robert S. Wolf
                                                Robert S. Wolf
                                                MOSES & SINGER LLP

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                                              The Chrysler Building
                                              405 Lexington Ave., 12th Floor
                                              New York, NY 10174-1299
                                              Phone: (212) 554-7825
                                              Fax: (212) 554-7700
                                              rwolf@mosessinger.com

                                              Counsel for Defendant




                                 CERTIFICATE OF SERVICE

      I hereby certify that on this 4th day of February, 2021, I electronically filed the foregoing
MOTION TO CONTINUE TRIAL with the Clerk of the Court using the CM/ECF system
which will send notification of such filing to all counsel of record.



                                              /s/ F. Hill Allen
                                              F. Hill Allen
                                              THARRINGTON SMITH, L.L.P.
                                              P.O. Box 1151
                                              Raleigh, NC 27602
                                              Phone: (919) 821-4711
                                              Fax: (919) 829-1583
                                              hallen@tharringtonsmith.com
                                              N.C. State Bar No. 18884
                                              Counsel for Defendant




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